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UNITED S'I`ATES DlSTRlCT COURT
MIDDLE DISTRlC'I` OF FLORIDA
ORLANDO DIVISION
MAXlMA LUNA,
Plaintiff,
v. Casc No: 6:14-cv-574-Orl-18TBS

RECEIVABLES PERFORMANCE
MANAGEMENT, LLC,

Defendant.

 

ORDER
'l`hc Court has been advised by the Det`endant in the above-styled action that this case that
the parties have reached an agreement t`or settlement. Accordingly, pursuant to Rule 3.08(b) ot`
the Local Rulcs of the Middle District of`Florida. it is
ORDERED that this cause is DISMISSED subject to the right of any party to re-open the
action within sixty (60) days upon good cause shown. or to submit a stipulated form of final order
or judgment

DONE AND ORDERED at Orlando. Florida. this /Q zday of April, 2015.

Wi/-V

G. KENDALL SHARP
SENIO

 

UNITED STATES DISTRICT JUDGF.

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Copics to:

Counsel o|` Rccord

